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  13
                                 UNITED STATES DISTRICT COURT
  14
                               CENTRAL DISTRICT OF CALIFORNIA
  15
        BARRY ROSEN, Individually and as a       Case No.      2:17-cv-07727 PSG(JEMx)
  16    Private Attorney General,
  17                                             FEDERAL DEFENDANTS’
               Petitioner and Plaintiff,
                                                 OPPOSITION TO PLAINTIFFS’ [SIC]
  18           v.                                EX PARTE APPLICATION FOR AN
  19                                             ORDER [1] STRIKING
        UNITED STATES GOVERNMENT,
        FEDERAL AVIATION                         DEFENDANT’S [SIC] RULE 12
  20    ADMINISTRATION, AND CITY OF              MOTIONS [DKT. NOS. 57-63] FOR
        SANTA MONICA,                            FAILURE TO COMPLY WITH
  21
               Respondents and Defendants.       SERVICE PURUSANT [SIC] TO
  22                                             FRCP 5 AND APPLICABLE LOCAL
  23                                             RULES, ALONG WITH THE
                                                 COURTS [SIC] ORDER AND [2]
  24                                             RENEWED REQUEST FOR ENTRY
  25                                             OF DEFAULT
  26                                             Judge: Honorable Philip S. Gutierrez
                                                                      Federal Defendants’ Opposition
  27    Case No. 2:17-cv-07727 PSG(JEMx)
                                                      to Ex Parte Application to Strike and for Default
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    2         Defendants United States Government and the Federal Aviation
    3   Administration (collectively, the “Federal Defendants”) hereby oppose Plaintiffs’
    4   [sic] Ex Parte Application for an Order [1] Striking Defendant’s [sic] Rule 12
    5   Motions [Dkt. Nos. 57-63] for Failure to Comply with Service Purusant [sic] to
    6   FRCP 5 and Applicable Local Rules, along with the Courts [sic] Order and [2]
    7   Renewed Request for Entry of Default (“Application”).
    8         In the Application, Plaintiff asserts that the Court should strike the Federal
    9   Defendants’ motion to dismiss, which was timely filed on April 23, 2018, and
   10   enter a default against the Federal Defendants on the erroneous theory that the
   11   Federal Defendants did not timely serve the motion. The Court should reject that
   12   assertion and deny the Application because: (1) the Application was improperly
   13   filed; (2) Federal Defendants timely served Plaintiff; (3) the Application does not
   14   meet the requirements of Federal Rule of Civil Procedure 55(a); (4) the failure to
   15   serve Plaintiff concurrently with filing of the motion to dismiss was the result of
   16   Plaintiff’s own misconduct; and (5) no prejudice resulted from the delay in timely
   17   service.
   18         First, Plaintiff has not complied with the Local Rules concerning ex parte
   19   applications. Local Rule 7-19.1 makes it
   20         the duty of the attorney so applying (a) to make reasonable, good faith
   21         efforts orally to advise counsel for all other parties, if known, of the
   22         date and substance of the proposed ex parte application and (b) to
   23         advise the Court in writing and under oath of efforts to contact other
   24         counsel and whether any other counsel, after such advice, opposes the
   25         application.
   26   Here, Plaintiff’s attorney—who has not yet entered an appearance in this case—
   27   did not file the Application. Rather, Plaintiff filed the Application, claiming to
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    1   be pro se. Moreover, Plaintiff made no effort to speak with undersigned counsel
    2   before filing the ex parte application. Indeed, Plaintiff has never raised any
    3   service issues concerning the Federal Defendants’ motion to dismiss other than
    4   in filings with the Court, and undersigned counsel has repeatedly attempted to
    5   arrange a telephone call with Plaintiff’s attorney to discuss the matter, without
    6   any success to date. Feldon Decl. ¶ 4.
    7         Second, contrary to Plaintiff’s contention, the Federal Defendants have
    8   complied with the Court’s orders as well as the local and federal rules in filing
    9   their motion to dismiss. Per the Order to Amend Plaintiff’s Second Amended
   10   Petition, “Defendants shall respond to Plaintiff’s Third Amended Petition, by
   11   motion or otherwise, on or before April 23, 2018.” ECF No. 55 at 2. The Federal
   12   Defendants in fact filed their response on that date. See ECF No. 58. The hearing
   13   on the Federal Defendant’s motion to dismiss is noticed for July 9, 2018, the date
   14   Plaintiff’s counsel’s identified as his preferred date. Id.; see also Feldon Decl. ¶ 3.
   15   Per Local Rule 6-1, service “by deposit in the mail” shall be done “not later than
   16   thirty-one days before the Motion Day designated in the notice.” Thirty-one days
   17   prior to July 9, 2018, is June 8, 2018. As reflected in the certificate of service filed
   18   on May 8, 2018, ECF No. 72, counsel for the Federal Defendants mailed copies of
   19   the motion to dismiss to Plaintiff and his attorney on May 3, 2018, more than two
   20   months before the hearing on the motion.
   21         Third, Plaintiff has not established his claim, as required by Federal Rule of
   22   Civil Procedure 55(a). That Rule provides that “[w]hen a party against whom a
   23   judgment for affirmative relief is sought has failed to plead or otherwise defend,
   24   and that failure is shown by affidavit or otherwise, the clerk must enter the party’s
   25   default.” The Federal Defendants did not, however, fail to defend. They timely
   26   filed their motion to dismiss. ECF No. 58. Plaintiff admits this, arguing only that
   27   the Federal Defendants did not properly effect service. See Application at 4-5.
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    1   Given that the Federal Defendants have defended this case, a default is not
    2   appropriate.1
    3            Fourth, Plaintiff should not benefit from his own wrongdoing. See generally
    4   Estate of Amaro v. City of Oakland, 653 F.3d 808, 813 (9th Cir. 2011) (discussing
    5   the principles underlying equitable estoppel). Defendants consented to Plaintiff’s
    6   request for an extension to file his third amended petition based on his
    7   representation “that he ha[d] retained counsel to represent him in this matter, and
    8   that his counsel [would] be filing a notice of appearance in due course.” ECF No.
    9   54 ¶ 9. In fact, Mr. Gustavo Lamanna has been representing Plaintiff in this
   10   matter, including in correspondence with the Court, but has not entered an
   11   appearance. Feldon Decl. ¶¶ 1, 3. Had Plaintiff’s counsel entered an appearance,
   12   the Federal Defendants’ ECF filing on April 23, 2018, would have been effective
   13   service. See Local Rule 5-3.2.1; see also id. 5-4.2 & (a)(2) (requiring attorneys to
   14   register to file via the CM/ECF System absent a court ordered exemption for good
   15   cause shown). Instead, Plaintiff has continued to file documents with the Court—
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            In addition, even if Plaintiff were entitled to the entry of a default, he could not obtain a default
   19   judgment. Under Federal Rule of Civil Procedure 55(d), “[a] default judgment may be entered
   20   against the United States, its officers, or its agencies only if the claimant establishes a claim or
   21   right to relief by evidence that satisfies the court.” As set forth in the Federal Defendants’
   22   motion to dismiss, Plaintiff lacks standing to assert his claims, and those claims lack any merit.
   23   See generally ECF No. 59. Furthermore, upon on a timely motion, the Federal Defendants
   24   would be entitled to vacatur of any default judgment in light of the strong judicial preference for
   25   resolving cases on their merits. See O’Connor v. Nevada, 27 F.3d 357, 364 (9th Cir. 1994). In
   26   such circumstances, courts routinely deny motions for default because “entry of such default
   27   would be futile and would waste the resources of both the court and the parties.” Diamond v.
   28   Cnty. of Riverside, ED CV 14-01922-VBF, 2015 WL 11215850, at *6 (C.D. Cal. Nov. 5, 2015).


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    1   including the Application—falsely representing himself as proceeding pro se. See
    2   App. at 10. It was only because undersigned counsel believed Mr. Lamanna had
    3   entered an appearance that the Federal Defendants did not mail a copy of their
    4   motion to dismiss in addition to filing it by ECF. In any event, service has been
    5   properly effected. See ECF No. 72.
    6         Fifth, no prejudice has resulted from the delay in service between the
    7   Federal Defendants’ filing of their motion to dismiss and their service by mail.
    8   Plaintiff was clearly aware of the motion to dismiss no later than the day after it
    9   was filed, which is when he first asked the Court to enter a default against
   10   Defendants. See ECF No. 66 at 11. Undersigned counsel would have gladly
   11   provided Plaintiff with the filing had Plaintiff asked, and Plaintiff was presumably
   12   able to acquire the filing via PACER if he chose to do so. Moreover, Plaintiff still
   13   has ample time to respond to the motion. He may timely oppose the Federal
   14   Defendants’ motion to dismiss up until twenty-one days before the hearing on the
   15   motion, L.R. 7-9, giving him until June 18, 2018. If Plaintiff contends that this is
   16   insufficient time, the Federal Defendants remain willing to stipulate to a reasonable
   17   extension.
   18         For the foregoing reasons, the Court should deny the Application.
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   20   Dated: May 8, 2018                      Respectfully submitted,
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